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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                           8:14CR357

        vs.
                                                                               ORDER
ALEJANDRO GARCIA-ROA,

                        Defendant.


This matter is before the court on defendant's MOTION TO CONTINUE DATE FOR FILING
PRETRIAL MOTIONS [58]. For good cause shown, I find that the motion should be granted. The
defendant will be given an approximate 30-day extension. Pretrial Motions shall be filed by December
12, 2014.


        IT IS ORDERED:


        1.      Defendant's MOTION TO CONTINUE DATE FOR FILING PRETRIAL MOTIONS
[58] is granted. Pretrial motions shall be filed on or before December 12, 2014.


        2.      The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of
the motion, i.e., the time between today’s date and December 12, 2014, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's
counsel required additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).




        Dated this 10th day of November, 2014

                                                           BY THE COURT:

                                                           s/ F.A. Gossett, III
                                                           United States Magistrate Judge
